                 Case 8:20-cv-00048-JVS-JDE Document 744-2 Filed 05/25/22 Page 1 of 10 Page ID
                                                  #:51979


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           15
                                    UNITED STATES DISTRICT COURT
           16             CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
           17
           18       MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                    a Delaware corporation; and                   DECLARATION OF NORA
           19       CERCACOR LABORATORIES, INC.,                  PASSAMANECK IN SUPPORT
           20       a Delaware corporation,                       OF APPLE’S OBJECTIONS TO
                                                                  SPECIAL MASTER ORDER
           21                          Plaintiffs,                NO. 9

           22             v.                                      Date: July 11, 2022
                                                                  Time: 1:30 p.m.
           23
                    APPLE INC.,
           24       a California corporation,                     Discovery Cut-Off: August 12, 2022
                                                                  Pre-Trial Conference: March 3, 2023
           25                          Defendant.                 Trial: March 28, 2023
           26
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                    PASSAMANECK DECLARATION IN SUPPORT OF APPLE’S OBJECTIONS TO SPECIAL MASTER
Wilmer Cutler
Pickering Hale      ORDER NO. 9                                     CASE NO. 8:20-cv-00048-JVS (JDEX)
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 744-2 Filed 05/25/22 Page 2 of 10 Page ID
                                                  #:51980



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                 PASSAMANECK DECLARATION IN SUPPORT OF APPLE’S OBJECTIONS TO SPECIAL MASTER
Wilmer Cutler
Pickering Hale   ORDER NO. 9                                      Case No. 8:20-cv-00048-JVS (JDEX)
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 744-2 Filed 05/25/22 Page 3 of 10 Page ID
                                                  #:51981



             1           I, Nora Passamaneck, declare and state as follows:
             2           1.    I am a partner with the law firm of Wilmer Cutler Pickering Hale and
             3   Dorr LLP and counsel of record for Defendant Apple Inc. (“Apple”) in the above-
             4   captioned action.
             5           2.    I have personal knowledge of the facts stated herein and, if called
             6   upon to do so, could and would competently testify thereto.
             7           3.    I make this Declaration in support of Apple’s Opposition To
             8   Plaintiffs’ Motion For Leave To Supplement The Fourth Amended Complaint
             9   (“Opposition”).
           10            4.    Attached hereto as Exhibit 1 is a true and correct copy of a snapshot
           11    at 1:10 into Plaintiff Masimo’s YouTube video, “Masimo talks to Arab Health
           12    TV,” (https://www.youtube.com/watch?v=5KvcsFkxBvE), dated January 24, 2022.
           13            5.    Attached hereto as Exhibit 2 (filed under seal) is a true and correct
           14    copy of Defendant Apple Inc.’s Fifteenth Set Of Requests For Production Of
           15    Documents And Things To Plaintiffs Masimo Corporation And Cercacor
           16    Laboratories, Inc. (Nos. 346-357), served on December 9, 2021.
           17            6.    Attached hereto as Exhibit 3 (filed under seal) is a true and correct
           18    copy of Plaintiffs’ Responses To Apple Inc.’s Fifteenth Set Of Requests For
           19    Production Of Documents And Things (Nos. 346-357), served on January 10,
           20    2022.
           21            7.    Attached hereto as Exhibit 4 (filed under seal) is a true and correct
           22    copy of a letter dated January 12, 2022, from Brian Andrea, counsel for Apple, to
           23    Mark Kachner, counsel for Plaintiffs, regarding Plaintiffs’ responses to Apple’s
           24    Fifteenth Set Of Requests For Production.
           25            8.    Attached hereto as Exhibit 5 is a true and correct copy of an excerpt
           26    of Plaintiffs Masimo Corporation and Cercacor Laboratories Inc.’s Seventh Set Of
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                 PASSAMANECK DECLARATION IN SUPPORT OF APPLE’S OBJECTIONS TO SPECIAL MASTER
Wilmer Cutler
Pickering Hale   ORDER NO. 9                         1           Case No. 8:20-cv-00048-JVS (JDEX)
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 744-2 Filed 05/25/22 Page 4 of 10 Page ID
                                                  #:51982



             1   Requests For Production Of Documents To Defendant Apple Inc. (Nos. 257-280),
             2   served on April 28, 2021.
             3         9.     Attached hereto as Exhibit 6 is a true and correct copy of excerpts of
             4   Plaintiffs Masimo Corporation and Cercacor Laboratories Inc.’s Ninth Set Of
             5   Requests For Production Of Documents To Defendant Apple Inc. (Nos. 318-524)
             6   (Corrected), served on May 25, 2021.
             7         10.    Attached hereto as Exhibit 7 (filed under seal) is a true and correct
             8   copy of a letter dated January 21, 2022, from Brian Andrea, counsel for Apple, to
             9   Mark Kachner, counsel for Plaintiffs, regarding Plaintiffs’ responses to Apple’s
           10    Fifteenth Set Of Requests For Production.
           11          11.    Attached hereto as Exhibit 8 is a true and correct copy of a letter
           12    dated January 14, 2022, from Mark Kachner, counsel for Plaintiffs, to Brian
           13    Andrea, counsel for Apple, regarding Plaintiffs’ responses to Apple’s Fifteenth Set
           14    Of Requests For Production.
           15          12.    Attached hereto as Exhibit 9 is a true and correct copy of a letter
           16    dated January 25, 2022, from Mark Kachner, counsel for Plaintiffs, to Brian K.
           17    Andrea, counsel for Apple, regarding Plaintiffs’ responses to Apple’s Fifteenth Set
           18    Of Requests For Production.
           19          13.    Attached hereto as Exhibit 10 (filed under seal) is a true and correct
           20    copy of a letter dated February 23, 2022, from Nora Passamaneck, counsel for
           21    Apple, to Mark Kachner, counsel for Plaintiffs, regarding Plaintiffs’ refusal to
           22    produce documents in response to Apple’s Request For Production Nos. 347-354.
           23          14.    Attached hereto as Exhibit 11 is a true and correct copy of an email
           24    chain, dated from to February 23, 2022 to February 25, 2022 between Mark
           25    Kachner, counsel for Plaintiffs, and Nora Passamaneck, counsel for Apple,
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                 PASSAMANECK DECLARATION IN SUPPORT OF APPLE’S OBJECTIONS TO SPECIAL MASTER
Wilmer Cutler
Pickering Hale   ORDER NO. 9                         2           Case No. 8:20-cv-00048-JVS (JDEX)
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 744-2 Filed 05/25/22 Page 5 of 10 Page ID
                                                  #:51983



             1   regarding Apple’s proposal with respect to its Request For Production Nos. 347-
             2   354.
             3           15.   Attached hereto as Exhibit 12 is a true and correct copy of an excerpt
             4   of Order No. 3 Of Special Master On Two Discovery Motions, dated January 13,
             5   2022.
             6           16.   Attached hereto as Exhibit 13 (filed under seal) is a true and correct
             7   copy of Plaintiffs’ Motion To Compel, dated August 31, 2021, regarding Plaintiffs’
             8   Request For Production Nos. 265-273 and 452-465.
             9           17.   Attached hereto as Exhibit 14 (filed under seal) is a true and correct
           10    copy of an excerpt of Plaintiffs Masimo Corporation and Cercacor Laboratories
           11    Inc.’s Second Supplemental Response To Apple’s First Set Of Interrogatories (No.
           12    17), served on April 27, 2021.
           13            18.   Attached hereto as Exhibit 15 is a true and correct copy of a
           14    document comparing the similarities between Apple’s and Plaintiffs’ Requests For
           15    Production and submitted in connection with Apple’s Motion To Compel,
           16    regarding its Request for Production Nos. 346-354.
           17            19.   Attached hereto as Exhibit 16 is a true and correct copy of an excerpt
           18    of Plaintiffs Masimo Corporation and Cercacor Laboratories Inc.’s Sixth Set Of
           19    Requests For Production Of Documents To Defendants Apple Inc. (Nos. 249-256),
           20    served on March 3, 2021.
           21            20.   Attached hereto as Exhibit 17 (filed under seal) is a true and correct
           22    copy of an excerpt of Order No. 2 Of Special Master On Two Discovery Motions,
           23    dated December 9, 2021.
           24            21.   Attached hereto as Exhibit 18 is a true and correct copy of a letter
           25    dated August 27, 2021, from Adam Powell, counsel for Plaintiffs, to Brian Andrea,
           26    counsel for Apple, regarding Plaintiffs’ Requests For Production.
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                 PASSAMANECK DECLARATION IN SUPPORT OF APPLE’S OBJECTIONS TO SPECIAL MASTER
Wilmer Cutler
Pickering Hale   ORDER NO. 9                         3           Case No. 8:20-cv-00048-JVS (JDEX)
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 744-2 Filed 05/25/22 Page 6 of 10 Page ID
                                                  #:51984



             1         22.   Attached hereto as Exhibit 19 (filed under seal) is a true and correct
             2   copy of Plaintiffs Masimo Corporation and Cercacor Laboratories Inc.’s Third
             3   Supplemental Response To Apple’s First Set Of Interrogatories No. 17, served on
             4   March 7, 2022.
             5         23.   Attached hereto as Exhibit 20 (filed under seal) is a true and correct
             6   copy of an excerpt of Plaintiffs’ Supplemental Responses To Apple’s Interrogatory
             7   Nos. 4-6, 26, and 29, served on February 10, 2022.
             8         24.   Attached hereto as Exhibit 21 (filed under seal) is a true and correct
             9   copy of an email chain, dated from February 8, 2022 to February 17, 2022,
           10    between Mark Kachner, counsel for Plaintiffs, and David Brzozowski, counsel for
           11    Apple, regarding Apple’s Requests For Production pertaining to Masimo’s W1
           12    watch product.
           13          25.   Attached hereto as Exhibit 22 is a true and correct copy of an excerpt
           14    of the transcript of the May 20, 2021 hearing before Magistrate Judge John D.
           15    Early regarding Motion To Compel [Dkt Nos. 351, 357].
           16          26.   Attached hereto as Exhibit 23 (filed under seal) is a true and correct
           17    copy of Apple’s March 1, 2022 Motion To Compel regarding its Request for
           18    Production Nos. 346-354.
           19          27.   Attached hereto as Exhibit 24 is a true and correct copy of Plaintiffs’
           20    March 8, 2022 Opposition To Apple’s Motion To Compel regarding its Request
           21    for Production Nos. 346-354.
           22          28.   Attached hereto as Exhibit 25 (filed under seal) is a true and correct
           23    copy of Apple’s March 15, 2022 Reply In Support Of Its Motion To Compel
           24    regarding its Request for Production Nos. 346-354.
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                 PASSAMANECK DECLARATION IN SUPPORT OF APPLE’S OBJECTIONS TO SPECIAL MASTER
Wilmer Cutler
Pickering Hale   ORDER NO. 9                         4           Case No. 8:20-cv-00048-JVS (JDEX)
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 744-2 Filed 05/25/22 Page 7 of 10 Page ID
                                                  #:51985



             1         29.    Attached hereto as Exhibit 26 (filed under seal) is a true and correct
             2   copy of Plaintiffs’ Responses To Apple Inc.’s Sixteenth Set Of Requests For
             3   Production Of Documents And Things (Nos. 358-400), served on March 7, 2022.
             4         30.    Attached hereto as Exhibit 27 is a true and correct copy of the
             5   transcript of the November 18, 2021 hearing before Magistrate Judge John D.
             6   Early regarding Plaintiffs’ Motion To Modify The Protective Order.
             7         31.    Attached hereto as Exhibit 28 is a true and correct copy of a letter
             8   dated January 13, 2022, from Adam Powell, counsel for Plaintiffs, to Nora
             9   Passamaneck, counsel for Apple, regarding the Protective Order.
           10          32.    Attached hereto as Exhibit 29 (filed under seal) is a true and correct
           11    copy of Defendant Apple Inc.’s Opposition To Plaintiffs’ Motion To Modify The
           12    Protective Order (Dkt. 67), dated January 27, 2021.
           13          33.    Attached hereto as Exhibit 30 (filed under seal) is a true and correct
           14    copy of Defendant Apple Inc.’s Sixteenth Set Of Requests For Production Of
           15    Documents And Things To Plaintiffs Masimo Corporation And Cercacor
           16    Laboratories, Inc. (Nos. 358-400), served on February 8, 2022.
           17          34.    Attached hereto as Exhibit 31 (filed under seal) is a true and correct
           18    copy of a letter dated March 9, 2022 from Brian Andrea, counsel for Apple, to
           19    Mark Kachner, counsel for Plaintiffs, regarding Plaintiffs’ responses to Apple’s
           20    Sixteenth Set of Requests For Production.
           21          35.    Attached hereto as Exhibit 32 is a true and correct copy of an email
           22    chain dated from March 9, 2022 to March 18, 2022, between Doran Satanove,
           23    counsel for Apple, and Justin Gillet, counsel for Plaintiffs, regarding Plaintiffs’
           24    responses to Apple’s Sixteenth Set of Requests For Production.
           25          36.    Attached hereto as Exhibit 33 (filed under seal) is a true and correct
           26    copy of an email chain dated from March 9, 2022 to March 30, 2022, between
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                 PASSAMANECK DECLARATION IN SUPPORT OF APPLE’S OBJECTIONS TO SPECIAL MASTER
Wilmer Cutler
Pickering Hale   ORDER NO. 9                         5           Case No. 8:20-cv-00048-JVS (JDEX)
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 744-2 Filed 05/25/22 Page 8 of 10 Page ID
                                                  #:51986



             1   counsel for Plaintiffs and counsel for Apple regarding Apple’s Requests For
             2   Production.
             3            37.   Attached hereto as Exhibit 34 (filed under seal) is a true and correct
             4   copy of the Declaration Of Joe Kiani In Support Of Plaintiffs’ Opposition To
             5   Apple’s Motion To Stay The Patent Infringement Case Pending Inter Partes
             6   Review Proceedings, dated September 28, 2020.
             7            38.   Attached hereto as Exhibit 35 is a true and correct copy of [Tentative]
             8   Order No. 8 Of Special Master On Four Discovery Motions, dated April 7, 2022.
             9            39.   Attached hereto as Exhibit 36 is a true and correct copy of Defendant
           10    Apple Inc.’s Fifth Set Of Requests For Production Of Documents And Things To
           11    Plaintiffs Masimo Corporation And Cercacor Laboratories, Inc. (Nos. 104-109),
           12    served on November 12, 2020.
           13             40.   Attached hereto as Exhibit 37 (filed under seal) is a true and correct
           14    copy of an email chain dated from March 1, 2022 to March 17, 2022, between
           15    counsel for Plaintiffs and counsel for Apple, regarding ESI custodians and search
           16    terms.
           17             41.   Attached hereto as Exhibit 38 (filed under seal) is a true and correct
           18    copy of an email chain dated from March 30, 2022 to April 1, 2022, between Nora
           19    Passamaneck, counsel for Apple, and Adam Powell, counsel for Plaintiffs.
           20             42.   Attached hereto as Exhibit 39 (filed under seal) is a true and correct
           21    copy of Apple’s March 30, 2022 Motion To Compel regarding its Request For
           22    Production Nos. 358-375.
           23             43.   Attached hereto as Exhibit 40 (filed under seal) is a true and correct
           24    copy of Plaintiffs’ April 6, 2022 Opposition To Apple’s Motion To Compel
           25    regarding its Request For Production Nos. 358-375.
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                 PASSAMANECK DECLARATION IN SUPPORT OF APPLE’S OBJECTIONS TO SPECIAL MASTER
Wilmer Cutler
Pickering Hale   ORDER NO. 9                         6           Case No. 8:20-cv-00048-JVS (JDEX)
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 744-2 Filed 05/25/22 Page 9 of 10 Page ID
                                                  #:51987



             1         44.    Attached hereto as Exhibit 41 (filed under seal) is a true and correct
             2   copy of Apple’s April 13, 2022 Reply In Support Of Its Motion To Compel
             3   regarding its Request For Production Nos. 358-375.
             4         45.    Attached hereto as Exhibit 42 (filed under seal) is a true and correct
             5   copy of the transcript of the April 29, 2022 hearing before Special Master Judge
             6   Andrew J. Guilford regarding Apple’s March 1, 2022 and March 30, 2022 Motions
             7   To Compel.
             8         46.    Attached hereto as Exhibit 43 (filed under seal) is a true and correct
             9   copy of a letter, dated April 15, 2022, from Apple to Judge Guilford, providing
           10    Apple’s narrowed version of RFP Nos. 346-351, and 353.
           11          47.    Attached hereto as Exhibit 44 (filed under seal) is a true and correct
           12    copy of a letter, dated April 22, 2022, from Plaintiffs to Judge Guilford, objecting
           13    to Apple’s narrowed version of RFP Nos. 346-351, and 353.
           14          48.    Attached hereto as Exhibit 45 (filed under seal) is a true and correct
           15    copy of Order No. 9 Of Special Master On Two Discovery Disputes, dated May
           16    11, 2022.
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                 PASSAMANECK DECLARATION IN SUPPORT OF APPLE’S OBJECTIONS TO SPECIAL MASTER
Wilmer Cutler
Pickering Hale   ORDER NO. 9                         7           Case No. 8:20-cv-00048-JVS (JDEX)
and Dorr LLP
Case 8:20-cv-00048-JVS-JDE Document 744-2 Filed 05/25/22 Page 10 of 10 Page ID
                                  #:51988
